O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the

                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No:   1:00CR6-4
                         Tammy Marie Logan
                                                                            )   USM No: 15768-058
Date of Previous Judgment: 12/13/00                                         )   Tanzania C. Cannon-Eckerle & Claire J. Rauscher
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 121           months is reduced to Time served plus 10 days .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                31                                       Amended Offense Level:          29
Criminal History Category:             II                                       Criminal History Category:      II
Previous Guideline Range:              121         to 151        months         Amended Guideline Range:        97        to 121   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                      12/13/00           shall remain in effect.
IT IS SO ORDERED .
                                                                                     Signed: May 9, 2008
Order Date:          May 9, 2008



Effective Date:
                       (if different from order date)




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